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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 ALTICOR INC., a Michigan corporation, §
 and AMWAY CORP., a Virginia §
 corporation,                          §
                                       § Case No. 1:20-cv-00815-RJJ-RSK
         Plaintiffs,                   §
                                       §
 v.                                    §
                                       §
 CUSTOMERS FIRST LP, a Delaware §
 limited partnership, CUONG DUC PHAM, §
 a natural person, and NGA TRINH, a §
 natural person,                       §
                                       §
         Defendants.                   §
 ___________________________________ §


                            STIPULATED FINAL JUDGMENT
                            AND PERMANENT INJUNCTION

       Plaintiffs, Alticor Inc. and Amway Corp. (“Plaintiffs”), and defendants, Customers First

LP, Cuong Duc Pham, and Nga Trinh (“Defendants”), (collectively, “the Parties”) have stipulated

and agreed to entry of this Final Judgment and Permanent Injunction pursuant to the Conditional

Settlement and Release Agreement (“Settlement Agreement”) entered into by the Parties. The

Parties have approved the substance and form of this Stipulated Final Judgment and Permanent

Injunction. Based on the pleadings, the Parties’ Settlement Agreement, and the factual, legal

and/or other findings below and for other good cause,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

       1.     This Court has jurisdiction of the subject matter of this action and personal

jurisdiction over Defendants.

       2.     Venue is proper is this Court.
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       3.      The injunctive relief provisions of this Judgment and Permanent Injunction shall

apply to Defendants as well as their agents, owners, servants, employees, and those persons or

entities in active concert or participation with Defendants.

       4.      Plaintiffs have valid and subsisting trademarks for AMWAY® (U.S. Trademark

Registration Nos. 716,672, 847,709, 4,031,832, 4,199,852, 4,289,794, and 4,481,517),

NUTRILITE® (Registration Nos. 402,891, 689,389, 2,145,912, 3,535,340, 4,748,189, and

4,478,190), and ARTISTRY® (Registration Nos. 856,184, 1,505,505, 1,519,877, and 4,645,525)

as well as other federally-registered trademarks (collectively, the “Amway Trademarks”).

       5.      Defendants, including anyone acting on their behalf or at their direction, are hereby

permanently restrained and enjoined from:

            (a) advertising, selling, or facilitating the advertisement or sale, through any medium

                 (including all Internet and non-Internet channels), of any goods or products

                 bearing any of the Amway Trademarks, including through any storefront on

                 www.amazon.com (“Amazon”) and including, but not limited to, the Amazon

                 storefront that has been known as “GOODIES FOR GENIUS” and which has a

                 Merchant ID number of A2OVHENG73GA0X;

            (b) using the Amway Trademarks in any manner, including advertising on the

                 Internet;

            (c) purchasing or acquiring any products bearing any of the Amway Trademarks for

                 the purpose of resale; and

            (d) importing, exporting, manufacturing, producing, distributing, circulating,

                 shipping, selling, offering to sell, advertising, promoting, or displaying any goods

                 or products bearing any of the Amway Trademarks.



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       6.       Cuong Duc Pham (“Pham”) and Nga Trinh (“Trinh”) shall:

             (a) Take all reasonable steps sufficient to monitor and ensure that all persons within

                  their control or employment (whether independent contractors, employees,

                  agents, partners, or otherwise) comply with this Order, including but not limited

                  to by providing a copy of this Order to any person within their control or

                  employment and requiring that such persons adhere to its terms;

             (b) Take all reasonable steps sufficient to monitor and ensure that all persons

                  authorized to act on their behalf, including all officers and principals, comply

                  with this Order; and

             (c) Take all reasonable corrective action with respect to any individual whom Pham

                  and Trinh determine is not in compliance with the terms of this Order, which may

                  include training, disciplining, and/or terminating such individual, and notifying

                  Plaintiffs in writing of the underlying conduct.

       7.       Pursuant to Rule 65(d)(2) of the Federal Rules of Civil Procedure, this Order is

binding upon the following persons who receive actual notice of it: the parties, the parties’ officers,

agents, servants, employees, and attorneys, and other persons who are in active concert or

participation with the parties or the parties’ officers, agents, servants, employees, and attorneys.

       8.       The claims against Customers First LP, Pham, and Trinh are dismissed with

prejudice.

       9.       This Court shall retain jurisdiction of this matter in law and in equity for the purpose

of enforcing and/or adjudicating claims in violation of this Final Judgment and Permanent

Injunction. Any such matters shall be raised by noticed motion.

       10.      Each party shall bear its own costs, expenses, and attorneys’ fees.



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       IT IS SO ORDERED.

       SIGNED and ENTERED this _____ day of _________________ 2020.



                                           Robert J. Jonker
                                           United States District Judge


AGREED AS TO FORM AND SUBSTANCE:

/s/ Kent A. Britt
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Attorneys for Plaintiffs Alticor Inc. and Amway Corp.


Customers First LP

By:
Its:   ______________________________



Cuong Duc Pham

____________________________________
Nga Trinh




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                              28th           December


                                     /s/ Robert J. Jonker
